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  AO 458 (Rev. 06/09) Appearance of Counsel


                                       UNITED STATES DISTRICT COURT
                                                                 for the
                                                        Western District
                                                    __________  District of
                                                                         of __________
                                                                            Texas


Community Financial Services Association of America, Ltd.           )
                               Plaintiff                            )
                                  v.                                )      Case No.    1:18-cv-295
        Consumer Financial Protection Bureau, et al.                )
                              Defendant                             )

                                                        APPEARANCE OF COUNSEL

  To:       The clerk of court and all parties of record

            I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

            Cooperative Baptist Fellowship                                                                                     .


  Date:          09/19/2018                                                                  /s/ Aaron Johnson
                                                                                             Attorney’s signature


                                                                                  Aaron Johnson, TX Bar No. 24056961
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